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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


LAUREN MCFALLS, individually, and on
behalf of all others similarly situated and the       CIVIL ACTION NO. 2:23-cv-572
Proposed Rule 23 Class,

             Plaintiff,

      v.

NCH HEALTHCARE SYSTEM, INC., and
NAPLES COMMUNITY HOSPITAL,
INC.,

             Defendant.


              DEFENDANTS’ PARTIAL MOTION TO DISMISS
             COUNTS III AND IV OF PLAINTIFF’S COMPLAINT

       Defendants NCH Healthcare System Inc., and Naples Community Hospital,

Inc. (collectively “Defendants”), pursuant to Fed. R. Civ. P. 12(b)(6), move for entry

of an order dismissing Counts III and IV of Plaintiff’s Complaint and, in support of

their Motion, provide the following Memorandum of Law.

                             MEMORANDUM OF LAW

 I.    INTRODUCTION

       Plaintiff’s Complaint alleges that Defendants violated the Fair Labor Standards

Act of 1938 (“FLSA”), the Florida Deceptive and Unfair Trade Practices Act, Fla.

Stat. §501.204 (“FDUPTA”), and the Florida statutes governing unlawful restraints

on trade, Fla. Stat. §542.18 and §542.335, based on a contract that Plaintiff voluntarily

entered into with Defendants which requires Plaintiff to repay Defendants for training
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that Defendants provided Plaintiff if Plaintiff voluntarily resigned her employment

within two years after the completion of the training.

      Defendants seek to dismiss Counts III and IV of the Complaint because those

counts do not state a claim for which relief can be granted. Count III is brought under

FDUPTA and cannot survive because the fellowship program for which Plaintiff

voluntarily entered which formed the basis of the allegations in that count does not

involve trade or commerce and Plaintiff has failed to plead any representation or

omission made by Defendants that could trigger a FDUPTA claim. Plaintiff’s alleged

subjective dissatisfaction with the value that she received from the program cannot

form the basis for a FDUPTA claim. Further, the relationship between the parties –

an employer/employee contract voluntarily entered into by Plaintiff which is only

offered to nurses that are already employed with Defendants – is outside the scope of

what FDUPTA was enacted to protect.

      Likewise, Count IV fails because the contract that the Parties voluntarily

entered into is not a restrictive covenant. Nothing about the contract restricts Plaintiff

from working anywhere at any time. In fact, under the terms of the agreement, she

could work at a direct competitor of Defendants located across the street the day after

she signed the contract and Defendants would have no recourse to prohibit her from

doing so. Because the contract does not constitute a restriction on trade, Fla. Stat. §

542.18 and § 542.335 are inapplicable and Plaintiff’s claim must fail.




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II.    LEGAL STANDARD

          Federal Rule of Civil Procedure 8(a) requires “a short and plain statement

of the claims” that “will give the defendant fair notice of what the plaintiffs claim is

and the ground upon which it rests.” Fed. R. Civ. P. 8(a). The Supreme Court held

that “[w]hile a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need

detailed factual allegations, a plaintiff’s obligation to provide the ‘grounds’ of his

‘entitlement to relief’ requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do. Factual allegations must be

enough to raise a right to relief above the speculative level.” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555 (2007) (internal citations omitted).

       “To survive a motion to dismiss, a complaint must contain sufficient factual

mater, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. Thus, “only a complaint that states

a plausible claim for relief survives a motion to dismiss.” Id. At 679. When considering

a motion to dismiss, the Court must accept all of the plaintiff’s allegations as true in

determining whether a plaintiff has stated a claim for which relief could be granted.

Hishon v. King & Spalding, 467 U.S. 69, 73 (1984). “Conclusory allegations,

unwarranted deductions of facts or legal conclusions masquerading as facts will not




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prevent dismissal.” Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir.

2002).

III.     ARGUMENT

         A.    Plaintiff fails to state a viable claim under FDUPTA.

         Plaintiff has failed, as a matter of law, to plead sufficient facts to state a cause

of action under Florida’s Unfair and Deceptive Trade Practices Act (Count III). To

state a claim under FDUPTA, a plaintiff must allege “(1) a deceptive act or unfair

practice; (2) causation; and (3) actual damages.” Rollins, Inc. v. Butland, 951 So. 2d 860,

869 (Fla. 2d DCA 2006).

               1.     Plaintiff’s Complaint fails to plead a deceptive act or unfair
                      practice or any allegations of actual damages.

         Plaintiff failed to allege any fact that could constitute a deceptive act or unfair

practice as that term is defined under FDUPTA. The “deceptive act or unfair practice”

element of a FDUPTA claim can be alleged in two ways: (1) by asserting a violation

of “any rules promulgated pursuant to the Federal Trade Commission Act” or “any

law, statute, regulation, or ordinance which proscribes unfair methods of competition,

or unfair, deceptive, or unconscionable acts or practices,” Fla. Stat. § 501.203(3)(a),

(c); or (2) by alleging that “there is a representation, omission, or practice that is likely

to mislead the consumer acting reasonably in the circumstances, to the consumer’s

detriment.” Blair v. Wachovia Mortg. Corp., 2012 WL 868878, at *3 (M.D. Fla. Mar. 14,

2012).




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       Plaintiff’s Complaint contains no allegations regarding the violation of a law

governing unfair methods of competition and the like nor any rule promulgated

pursuant to the FTCA. Thus, she must rely upon a representation, omission, or

practice that is likely to mislead consumers acting reasonably in the circumstances. But

the Complaint is devoid of any such representation, omission, or practice on the part

of Defendants that would mislead consumers. To the contrary, Plaintiff pleads that

after she was hired by Defendants, she voluntarily1 elected to participate in the

fellowship program after receiving strong suggestions by other employees of

Defendants and confirmed that she was aware of the cost of the program at the time

she signed the agreement (as it is expressly contained in the agreement). ECF No. 1,

p. 11-12; ECF No. 1-2. Notably, per the allegations in the Complaint, a group of

individuals that Plaintiff claims are similarly situated to her recommended the

allegedly “deceptive” program to Plaintiff, seemingly vouching for the legitimacy of

the program. Clearly, those individuals did not feel deceived.

       There is simply no representation, omission, or practice identified in the

Complaint that was directed at the public and could be relied upon detrimentally by

consumers in general. See Hucke v. Kubra Data Transfer Ltd., Corp., 160 F. Supp. 3d

1320, 1328 (S.D. Fla. 2015) (“A deceptive act or practice is one that is likely to mislead

consumers and an unfair practice is one that offends established public policy and one


1
 Among other allegations providing the voluntary nature of the program, Plaintiff pleads that only
49 of 331 nurses that Defendants hired in 2019 participated in the fellowship program. ECF No.
1, ¶ 46.




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that is immoral, unethical, oppressive, unscrupulous or substantially injurious to

consumers.”). Rather than identify a representation, omission, or practice on the part

of Defendants that allegedly caused her harm, Plaintiff asserts the claim based on her

belief that the training provided was not worth the $5,000 amount that she was charged

after violating the contract that she voluntarily entered into. Id. at ¶ 136-142. Plaintiff’s

subjective valuation does not impute deception onto Defendants nor does it constitute

Defendants’ participation in an unfair act. This is because FDUPTA does not permit

recovery for a plaintiff’s belief that a product is of inferior quality compared with her

expectations or the price she paid. Pop v. Lulifama.com LLC, 2023 WL 4661977, at *5

(M.D. Fla. July 20, 2023).

       For similar reasons, Plaintiff’s Complaint also fails to provide sufficient factual

allegations to establish the third prong of a FDUPTA claim – actual damages. Actual

damages “are measured according to the difference in the market value of the product

or service in the condition in which it was delivered and its market value in the

condition in which it should have been delivered according to the contract of the

parties.” Marrache v. Bacardi U.S.A., Inc., 17 F. 4th 1084, 1098 (11th Cir. 2021).

FDUPTA does not provide for the recovery of nominal damages, speculative losses,

or compensation for subjective feelings of disappointment. Id. But this is Plaintiff’s sole

claim plead in her Complaint – that she believed the value of the training was less than

the amount she was contractually obligated to reimburse Defendants if she voluntarily

resigned within the relevant two-year period. Put plainly, subjective dissatisfaction

does not constitute actual damages under FDUPTA. Id.; see also Clear Marine Ventures



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Ltd. v. Brunswick Corp., 2010 WL 528477, at *5 (S.D. Fla. Feb. 11, 2010) (dismissing

FDUPTA claim, where purchaser of a boat claimed it was “aesthetically unpleasing”

and, thus, “entirely unsellable,” for failing to allege that the “aesthetic changes . . .

affected the value beyond mere speculation.”).

       Because Plaintiff’s Complaint fails to identify a deceptive act or unfair practice

engaged in by Defendants and fails to plead any actual damages, Plaintiff failed to

plead a claim that is facially plausible. Thus, Count III must be dismissed.

               2.     The acts at issue in this case are not based in commerce and
                      FDUPTA was not intended to apply to the contractual
                      relationships between employer and employee.

       FDUPTA was enacted by the Florida Legislature to “protect the consuming

public and legitimate business enterprises from those who engage in unfair acts or

practices in the conduct of any trade or commerce.” Id. citing Fla. Stat. §501.202(2);

see also Delgado v. J.W. Courtesy Pontiac GMC-Truck, Inc., 693 So.2d 602, 605-06 (Fla. 2d

DCA 1997) (discussing the purpose of FDUTPA in light of its legislative history).

While a FDUPTA plaintiff need not be a consumer to have standing, the deceptive act

or unfair practice that forms the basis for the underlying claim must still be directed at

consumers. See Caribbean Cruise Line, Inc. v. Better Bus. Bureau of Palm Beach Cnty., Inc.,

169 So. 3d 164, 169 (Fla. 4th DCA 2015); see also Millennium Commc'ns & Fulfillment,

Inc. v. Office of the Att'y Gen., Dep't of Legal Affs., State of Fla., 761 So. 2d 1256, 1260 (Fla.

3d DCA 2000) (observing that FDUTPA was enacted “to protect consumers against

commercial wrongdoing” (emphasis added)).




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       To properly allege a FDUPTA claim, the unfair or deceptive acts or practices

must be “in the conduct of any trade or commerce.” Fla. Stat. §501.203(8). “Trade or

commerce” is defined as “the advertising, soliciting, providing, offering, or

distributing, whether by sale, rental, or otherwise, of any good or service, or any …

thing of value.” Id.; see also Kelly v. Palmer, Reifler, & Associates, P.A., 681 F. Supp. 2d

1356, 1374 (S.D. Fla. 2010). Historically, FDUPTA has been applied by the courts in

cases alleging claims such as false advertising, unfair billing practices, and other

deceptive business practices against the consuming public. See e.g., Bluegreen Vacations

Unlimited, Inc. v. Timeshare Lawyers P.A., 20-24681-CIV, 2023 WL 3198192 (S.D. Fla.

May 2, 2023), reconsideration denied, 20-24681-CIV, 2023 WL 3435139 (S.D. Fla. May

12, 2023) (granting plaintiff injunctive relief under FDUPTA for defendant’s deceptive

business model based on offering a service they do not actually provide); Coleman v.

CubeSmart, 328 F. Supp. 3d 1349 (S.D. Fla. 2018) (where a defendant chose the

descriptive terms and they do not accurately describe what is being charged and

collected, such conduct is actionable under FDUPTA); State Farm Mut. Auto. Ins. Co.

v. First Care Sol., Inc., 232 F. Supp. 3d 1257 (S.D. Fla. 2017) (Person who was not a

licensed health care professional engaged in unfair and deceptive acts in violation of

FDUPTA where he unlawfully operated medical clinic to obtain payments for

personal injury protection benefits that insurers had statutory right to deny); Latman v.

Costa Cruise Lines, N.V., 758 So. 2d 699 (Fla. 3d DCA 2000) (holding that where a

cruise line bills passengers for port charges but keeps part of the money for itself, it is

a deceptive act under FDUPTA).



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       The relationship at issue is not commercial in nature. Instead, it is a private

contractual relationship between an employee and an employer. Plaintiff even pleads

that she did not apply for the job in order to enter into the fellowship program and that

she could not sign up for the fellowship program until after her hire. ECF No. 1, ¶ 66-

70. This type of reimbursement contract targeted solely at Defendants’ own employees

(not the general public) is not the relationship for which FDUPTA was enacted and is

outside the scope of the statute’s applicability.

       Defendants are aware of one exception where, in the employment context, four

federal courts have applied FDUPTA to an employer/employee interaction. See

Switala v. Rosenstiel, 2017 WL 7792713 (S.D. Fla. Oct. 3, 2017); Vasquez v. Joseph Cory

Holdings, LLC, 2016 WL 11221088 (M.D. Fla. Nov. 10, 2016); Francois v. Gulf Coast

Transp., Inc., 2016 WL 4097108 (M.D. Fla. Aug. 2, 2016); Seijo v. Casa Salsa, Inc., 2013

WL 6184969 (S.D. Fla. Nov. 25, 2013). However, those cases are distinguishable

because they all involved the same conduct – the alleged intentional misclassification

of the plaintiffs as independent contractors rather than employees. That is not the issue

here. Instead, this case involves the repayment obligation for training received in a

fellowship program offered exclusively to employed nurses of a hospital. There is no

court opinion or other interpretation of FDUPTA holding that it is potentially

triggered by this sort of challenge to the value of a training program offered by an

employer to an employee. Permitting this claim to survive Defendants’ Motion would

create a new legal theory outside the scope of FDUPTA’s intent.




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       B.     The Contract between Plaintiff and Defendants does not constitute a
              restrictive covenant.

       Plaintiff’s claim for an unlawful contract in restraint of trade (Count IV) must

likewise be dismissed. In the Complaint, Plaintiff relies solely upon a refutable legal

conclusion to assert that the contract between the parties is an unlawful contract in

restraint of trade. Specifically, Plaintiff pleads, without any supporting facts or

description of the provisions of the contract in support of her position, that the contract

between the parties contains an unlawful restrictive covenant pursuant to Florida

Statute § 542.335.

       “Section 542.335 contains a comprehensive framework for analyzing,

evaluating and enforcing restrictive covenants in Florida based on an ‘unfair

competition’ analysis.” Rauch, Weaver, Norfleet, Kurtz & Co., Inc. v. AJP Pine Island

Warehouses, Inc., 313 So. 3d 625, 630 (Fla. 4th DCA 2021) (citing Henao v. Pro. Shoe

Repair, Inc., 929 So. 2d 723 (Fla. Dist. Ct. App. 2006)). “[T]he term ‘restrictive

covenants’ includes all contractual restrictions upon competition, such as

noncompetition/nonsolicitation agreements, confidentiality agreements, exclusive

dealing agreements, and all other contractual restraints of trade.” Id.

       The contract at issue does not contain a restrictive covenant of any sort. Plaintiff

pleads that the contract constitutes a restraint of trade because “the clear purpose and

effect of the TRAP is to limit nurse mobility and thereby restrain trade.” ECF No. 1,

¶ 154. It is unclear what portion of the contract that Plaintiff is referring to in making

that allegation. Nor is “clear purpose” the issue, rather, the question is does the




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contract restrict Plaintiff’s ability to seek employment elsewhere, prohibit her from

soliciting clients or employees of her employer, or provide some other provision that

fits within the scope of Section 542.335? It does not. Further, if “clear purpose” did

have some impact on whether Plaintiff plead a cognizable claim, the clear purpose of

the contract is to prohibit nurses from receiving costly training from Defendants and

then immediately using that training to benefit another entity without Defendants

reaping any of the benefit of the resources that they expended. But, importantly, under

the express terms of the contract, nothing prohibits Plaintiff from doing just that – she

just must repay the reasonable value of the training that she received. ECF No. 1-2.

      The allegations in Plaintiff’s Complaint make clear that she is attempting to

place a round peg into a square hole. After concluding that the contract constitutes a

restrictive covenant, Plaintiff goes on to list the factors that courts must evaluate to

determine whether a restrictive covenant is reasonable pursuant to Florida law: “time,

area, and line of business.” ECF No. 1, ¶ 155; see also Freedom Med., Inc. v. Sewpersaud,

469 F. Supp. 3d 1269, 1276 (M.D. Fla. 2020) (Under Florida law, restrictive covenants

not to compete are enforceable “so long as such contracts are reasonable in time, area,

and line of business” and protect a legitimate business interest) (citing Fla. Stat,

§542.335(1)). Plaintiff then alleges (again, in a conclusory fashion) that Defendants’

contract is not reasonable in “time, area, and line of business.” ECF No. 1, ¶ 156. It is

difficult to understand how Plaintiff reached that conclusion given that there is no

language in the contract that contains any restraints based on time, area, or line of

business. ECF No. 1-2. In fact, there is no mention of Plaintiff’s subsequent



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employment at all. Even if the Court determines that this contract somehow

constitutes a restrictive covenant, certainly the fact that it contains absolutely no

restrictions on these elements should be dispositive of the issue that any such

restriction is reasonable as a matter of law.

      What we have here is a contract requiring repayment of training costs in the

amount of $5,000 should Plaintiff resign within two years of completion of the

program. It is not a restraint on trade, but simply a mechanism to provide Defendants

reimbursement for expenses incurred in providing specialty training to Plaintiff who

departed before Defendants recouped the benefit of that investment. In reality, Plaintiff

was free to leave and seek employment elsewhere at any time during the term of the

contract, and did not have to reimburse Defendant before she was able to do so.

Notably, Plaintiff did not plead that she failed to obtain employment elsewhere once

she voluntarily left Defendants’ employ, that she was restricted from obtaining

employment elsewhere, or that Defendants ever attempted to prohibit her from doing

so. Lastly, unlike a restrictive covenant, in which an employer may seek an injunction

to prevent a former employee from working with a competing business – under this

contract, Defendants’ only recourse if Plaintiff fails to live up to her end of the bargain

is the pursuit of Plaintiff through formal debt collection. ECF No. 1, ¶ 63-64. Which

is what Plaintiff plead happened.

      This is a promissory note for repayment of a debt – not a restrictive covenant

that prohibits Plaintiff from working for a competitor of Defendants within any

particular geographic area, any timeframe, or any line of business. No court in Florida



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has held such a contract to be a restrictive covenant under Fla. Stat. § 542.335. Thus,

Plaintiff failed to provide sufficient factual support to establish her claim beyond a

speculative level and the Court should dismiss Count IV.

      C.     The Court should dismiss Counts III and IV with prejudice because
             any attempt to amend the Complaint would be futile.

      Federal Rule of Civil Procedure 15, calls for liberal amendment of pleadings,

“[h]owever, the court need not grant leave where the amendment would be futile.”

Grimes v. Florida, 71 F. Supp. 3d 1319, 1323 (M.D. Fla. 2014) (citing Cox v. Mills, 465

Fed.Appx. 885, 889 (11th Cir. 2012)). “An amendment is futile where the complaint

as amended would still be subject to dismissal.” Id. Here, no amendment to Plaintiff’s

pleadings would create a cognizable claim because it would not change the

relationship between her and Defendants, nor would it change the language of the

contract between the parties. Therefore, Counts III and IV should be dismissed with

prejudice because any efforts to amend are futile.

IV.   CONCLUSION

      Based on the facts and the law, Count III and IV should be dismissed, with

prejudice, because those counts do not state a claim for which relief can be granted.

Count III should be dismissed because Plaintiff has failed to plead any facts to show

how the fellowship program Plaintiff voluntarily entered into involves trade or

commerce, and Plaintiff has failed to plead any deceptive or unfair acts by Defendants

that could trigger a FDUPTA claim. Further, the employer/employee relationship

entered into between the parties—a voluntary contract offered only to Defendants’




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nurses—is outside of the scope of what FDUPTA was enacted to protect. Similarly,

Count IV should be dismissed because the contract entered into by the parties does not

reflect any of the characteristics of a restrictive covenant pursuant to Fla. Stat.

§542.335, nor does it prevent Plaintiff from working anywhere at any time.

      WHEREFORE, for the above stated reasons, Defendants respectfully request

that the Court enter an order dismissing Counts III and IV of Plaintiff’s Complaint,

with prejudice. Defendants further request that they be awarded the expenses incurred

in preparing this motion and that the Court grant such other and further relief as is

just, equitable, and proper.

      Dated this 25th day of August, 2023

                                       Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 25, 2023, a true and correct copy of the

foregoing was filed with the Clerk of the Court using the CM/ECF system, which

will send a copy to all counsel of record.

                                         /s/ Christopher C. Johnson
                                         Attorney




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